Case 1:03-cV-01233-.]DB-tmp Document 37 Filed 07/08/05 Page 1 of 2 P;ag§|D 77
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UNITED STATES DISTRICT COURT

 

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WESTERN DISTRICT OF TENNESSEE` , ego "'j
EASTERN DIVISION »"`/ ,;/)”~U 52 `"'J;)
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MILTON SMITH, JUDGMENT IN A CIVIL CA E
Plaintiff,
V.
CORRECTIONS CORPORATION CASE NO: 1:03-1233-B

()F AMERICA, et al.,

Defendants.

 

DECISI()N BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND AD.]UDGED that in accordance with the Agreed Order Of
Dismissal With Prejudice entered on July 6, 2005, this cause is hereby dismissed with prejudice.

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THOMAsM.GouLD

Clerk of Court

C-DM

(By) Deputy Clerk

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Honorable J. Breen
US DISTRICT COURT

